












Motion Granted, Petition for Writ of Mandamus
Dismissed, and Memorandum Opinion filed May 17, 2011.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-11-00300-CV

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IN RE UNDERWRITERS AT LLOYD’S, LONDON, Relator

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&nbsp;

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ORIGINAL PROCEEDING

WRIT OF MANDAMUS

11th District Court

Harris County, Texas

Trial Court No. 2010-55880

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&nbsp;

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M E M O R
A N D U M&nbsp; O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On April 5, 2011, relator, Underwriters at Lloyd’s, London,
filed a petition for writ of mandamus in this court.&nbsp; See Tex. Gov’t
Code §22.221; see also Tex. R. App. P. 52.1. &nbsp;In its petition, relator
asked that this court direct the trial court to grant its motion to compel
appraisal of the underlying insurance claim and abate the proceedings pending
completion of the appraisal.&nbsp; On May 11, 2011, relator filed a motion to
dismiss its petition.&nbsp; In the motion, relator asserts that the parties have
reached an agreement concerning the appraisal and stay of the trial court
proceedings.&nbsp; Accordingly, the issues in its petition have been rendered moot.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Therefore, we grant relator’s motion and order the petition
for writ of mandamus dismissed.

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PER CURIAM

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Panel consists
of Chief Justice Hedges and Justices Seymore and Boyce.





